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UNITED STATES DISTRICI` COUR`I`
SOUTHERN DISTRICT OF NEW YOR.K

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9197-5904 QUEBEC, INC.,

 

 

 

 

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Plaintiff,
-against- 16 Civ. 695 (CM)(.ICF)
NLG LLC,
Defendant.
x
ORDER “REMANDING" CASE
McMahon. CJ:
Hmwith thc history of this action:

On Fcbrua.ry 2012, the defendant confc$sedjudgmmt in this action. brought by thc
plaintiff in the Ncw York State Supn:me Court, Ncw York Co\mty.

On May 14, 2014, over wm years later, defendant sought to vacate the conf¢ssion of
judgment

On Junc 6, 2014. the Supremc Coun denied thc application for vacatur and marked the
order “final dispositiom"

On Junc 17, 2014, plaintiff gned its judgment to an entity known as Sclcctive
Advisors Gmup.

On Scpmmbcr 4, 2015, Sclectivc filed a satisfaction of judgment with thc Ncw York
Coumy Clcrk.

On orabout Novmbcr 16, 2015, dd`a\dant - having paid tbejudgmcnt - sought once
againtohavc it vacatod.

On Deoember 21, 2015, thc Supreme Coun entered an order denying this application
No appeal was taken from this order.

 

 

 

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OnJanuary 29, 2016, defendant filed anotice of!emoval tohave the actiontransfened to
thisoourt

Exhibitsdocmnentingtheforegoingstatementsoffactwillbc foundatDocket#l and
Doclcet #ll ol` the official docket of this action

The Notioc of Removal is a nnllity. 'l`hene was no live action to remove 'l`he Ncw York
StaceSnpremeCourtenteredjudgmentinthismattersomcyearsago.`l`hatjudgmenthasbeen
satisfied 111¢ case is over. A closed case cannot be removed

Acootding to dcfendant`s ootmsel, who appeared at a conference before this court,
defendant believes that the judgnent wa procured by fraud, and so made application to re~open
the satisfied judgment Its motion was denied Instead ofEling an appeal, defendant sent the me
here. Butthi$oonrtdoesnotsitasa€ourt oprpealsoverthc Ncw York State SupremcCouxt.

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YorkCotmtymdtocloscouttheeaseonthecomt'sdockct.

Defendant’s counsel has 14 days to show came why be should not be personally
sanctioned for wasting the eoun‘s time with this utterly &ivolous mner.

Dated: July 20, 2016

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Chief.ludgc

 

BY ECF TO AI.,I, COUNSEL

 

